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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                                     Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                                           Phone: (312) 435-5850
             Chicago, Illinois 60604                                                                 www.ca7.uscourts.gov




                                                            ORDER
 August 8, 2019

By the Court:
                                         RICHARD G. MARTIN,
                                         Petitioner - Appellant

 No. 18-2840                             v.

                                         UNITED STATES OF AMERICA,
                                         Respondent - Appellee

 Originating Case Information:

 District Court No: 1:17-cv-01064-MMM
 Central District of Illinois
 District Judge Michael M. Mihm

 Upon consideration of the UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE
 OPENING BRIEF, filed on August 7, 2019, by counsel for the appellant,

 IT IS ORDERED that the motion is GRANTED and briefing shall proceed as follows:

 1. The brief and required short appendix of the appellant are due by November 1, 2019.

 2. The brief of the appellee is due by December 2, 2019.

 3. The reply brief of the appellant, if any, is due by December 23, 2019.

 Given the length of this extension of time, counsel for the appellant should make this matter
 a priority.


 Important Scheduling Notice!

 Hearing notices are mailed shortly before the date of oral argument. Criminal appeals are scheduled shortly after the filing of the
 appellant’s main brief; civil appeals are scheduled after the filing of the appellee’s brief. If you foresee that you will be
 unavailable during a period in which your appeal might be scheduled, please write the clerk advising him of the time period and
 the reason for your unavailability. The court’s calendar is located at http://www.ca7.uscourts.gov/cal/argcalendar.pdf. Once an
 appeal has been scheduled for oral argument, it is very difficult to have the date changed. See Cir. R. 34(e).

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